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  Filed by Corporations Division Administrator Filing Number: 223722040860 Date: 10/19/2023




                                                                                                                        Form Revision Date 07/2016

                                           CERTIFICATE OF DISSOLUTION
                                          For use by DOMESTIC LIMITED LIABILITY COMPANY
  Pursuant to the provisions of Act 23, Public Acts of 1993, the undersigned limited liability company executes the following Certificate of
                                                                 Dissolution:
The identification number assigned by the Bureau is:                                          802282527
The name of the limited liability company is:                                                 522 REYNOLDS, LLC
                                                                                                                                          



                                                                                                                                          

The reason for dissolution is upon the happening of an event specified in the Articles of Organization or operating agreement.


This document must be signed by a member, manager, or an authorized agent:
Signed this 19th Day of October, 2023 by:

 Signature                                                      Title                                  Title if ''Other'' was selected
 Beau Harvey                                                    Member


By selecting ACCEPT, I hereby acknowledge that this electronic document is being signed in accordance with the Act. I further certify
that to the best of my knowledge the information provided is true, accurate, and in compliance with the Act.
                                                        j Decline
                                                        k
                                                        l
                                                        m
                                                        n               i Accept
                                                                        j
                                                                        k
                                                                        l
                                                                        m
                                                                        n
         Case 2:23-cv-12042-JJCG-APP ECF No. 56-2, PageID.841 Filed 08/27/24 Page 2 of 2
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   MICHIGAN DEPARTMENT OF LICENSING AND REGULATORY AFFAIRS

                                    FILING ENDORSEMENT


  This is to Certify that the   CERTIFICATE OF DISSOLUTION

                                                     for


   522 REYNOLDS, LLC

                                               ID Number:            802282527




  received by electronic transmission on       October 19, 2023          , is hereby endorsed.

  Filed on     October 19, 2023     , by the Administrator.


  The document is effective on the date filed, unless a subsequent effective date within 90 days after
  received date is stated in the document.




                                                        In testimony whereof, I have hereunto set my
                                                        hand and affixed the Seal of the Department,
                                                       in the City of Lansing, this 19th day
                                                       of October, 2023.




                                                           Linda Clegg, Director
                                                           Corporations, Securities & Commercial Licensing Bureau
